                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      CASE NO. 3:11-00249-2
                                             )      JUDGE SHARP
RASHAWN CAMPBELL                             )

                                        ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 158) to which the Government does not oppose.

       The motion is GRANTED, and the sentencing hearing set for July 18, 2014, is hereby

continued to Monday, October 17, 2014, at 1:30 p.m.

       It is so ORDERED.



                                          KEVIN H. SHARP
                                          UNITED STATES DISTRICT JUDGE




 Case 3:11-cr-00249        Document 160     Filed 06/20/14     Page 1 of 1 PageID #: 450
